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UNITED STATES DlSTRlCT COURT
FOR THE DlSTRlCT OF COLORADO

Maxine Shepard
P.O. Box 60731
Colorado Springs, CO 80960

On behalf of herself and household members:

Anna Siaw-Sappore
P.O. Box 60731
Colorado Springs, CO 80960

Callie (Service Animal)
P.O. Box 60731
Colorado Springs, CO 80960

Plaintiffs,
v.

United States Department of Veteran Affairs
810 Vermont Aveenue, NW
Washington, DC 20420

United States Department of Defense
1400 Defense Pentagon
Washington, DC 20301

St. Davids’ Medical Center
12221 Mopac Expwy. North
Austin, TX 78758

Austin Dental Works
4601 N. Lamar Blvd.,
Austin, TX 78751

#503

Defendants.

 

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1. This is an action under the Federal Tort Claims Act, 28 U.S.C, seeking compensation under 38 U.S.C. 1151,
medical malpractice for unlawful implantation of microchips by a physician at a Departrnent of Veterans Affairs
Medical Center acting during the scope of employment and 1n conjunction with other federal agencies; violation
ofTitle III of the Americans With Disabilities Act, 42 U. S. C., 12181~ 12189; and 42 U.S.C.,1983,Deprivation

of Rights; Animal Welfare Act of 1966., PL 89- 544.

2. This court has jurisdiction over the parties and subject matter pursuant to 28 U.S.C,1346 (b) (1988); 38 U.S.C.
1151; 42 U.S.C., 12181 - 12189; and 42 U.S.C., 1983; and Animal Welfare Act of 1966.

3. Venue is proper in this district pursuant to 28 U.S.C. Federal Tort Clairns Act.

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Parties

4. Now comes the Plaintiffs Maxine Shepard, Veteran, individually and pro se, and files this FTCA Claim for
compensation under 38 U.S.C. 1151 on behalf of herself and her household members duly affected by the Defendants
actions against her.

5. Ms. Maxine Shepard, Veteran of United States Armed Forces, Primary Plaintiff,

6. Ms. Anna Ayerki Siaw-Sappore, daughter of Primary Plaintiff, duly affected by the actions of the Departrnent of
Veterans Affairs against Primary Plaintiff,

7. Canine Callie, service animal of Primary Plaintiff, who was micro-chipped with tracking device on the right side of
skull in Primary Plaintiffs’ home, Without consent, following unlawful entry into residence.

AMOUNT OF CLAIMS

8. Primary Plaintiff, Ms.Maxine Shepard, seeks $20,000,000.00 (twenty million dollars) in total award which includes
$10 million for herself, $5 million for her daughters' pain, suffering, mental anguish and loss of parental
companionship, and $5 million for her service animal Callie, who was implanted with a microchip after unlawful
entry into her home and used as part of Departrnent of Veterans Affairs animal experimentation (see White Coast
Waste Project v. United States Departrnent of Veterans Affairs), for a total of $20,000,000.00. USD.

BASIS OF CLAIMS

9.These claims for compensation arise under the Federal Tort Claims Act (28 U.S.C); 38 1151; American with
Disabilities Act 42 U.S.C., 12181 - 12189; Deprivation of Rights 42 U.S.C. 1983; and Animal Welfare Act of 1966,
PL 89-544 which regulates the treatment of animals in research and exhibition. Unless otherwise noted, all statements
herein pertain to the Primary Plaintiff, Maxine Shepard.

9(b). The Department of Veterans Affairs denied Plaintiff’s Tort Claim on the basis that her claim was not well
grounded based on 38 U.S.C. Section 5107. However, the Plaintiff contends that the evidence provided to the VA and
to this Court is sufficient to prove that the injuries described in the 38 U.S.C. 1151 Claim occurred as a result of her
surgery at the VAMC in 2005 by a physician who during the course and scope of his duties, unlawfully and without
informed consent implant the Plaintiff with microchips. It is an unreasonable burden for the Plaintiff to have any other
evidence than what she has already provided due to the secrecy and concealment of the Depaltment of Veterans
Affairs for thirteen years to not only hide the truth about the microchips, but not allow her to get the treatment she
needs for their removal. However, Plaintiff has shown that by its actions, the Departrnent of Veterans Affairs has
knowledge of the microchips and has remotely accessed them, allowed others to remotely access them, and that by
doing so it has caused severe injury to the Plaintiff physically, emotionally and psychologically

9(c). 38 U.S.C., states that it ‘ generally requires’ medical evidence, or in certain circumstances lay evidence, medical
or surgical treatment or medical evidence of a nexus between that asserted injury or disease and the current disability.
The Departrnent of Veterans Affairs has ignored the evidence, the facts Plaintiff provided to them and wrongfully
denied her claim. Plaintiff’s injuries as outlined in the 38 U.S.C. 1151 were a result of surgery, lay evidence was
presented, a nexus between the asserted injury and diseases and/or current disabilities were all provided. The basis of
Plaintiff’s Tort Claim also rest on the fact that the Departrnent of Veterans Affairs denied her 1151 Claim because they
found no record in her service record for the injuries. That is because the injuries occurred after her service, not
during, and according to the Federal Tort Claim Act and 38 U.S.C., injuries asserted in a these claims do not have to
occur during military service. Therefore, the Departrnent of Veterans Affairs did wrongfully deny Plaintiff’s 38 U.S.C.
1151 Claim, and here, by this FTCA claim, the Plaintiff respectfully requests relief. See Elliott By and Through
Elliott v. U.S., 13 F.3d 1555 (1994). Relief of $12,000,000.00 was granted to the Claimant, Sgt. Elliott for injuries

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suffered in his government managed apartment while he was sitting on the couch. As in Elliot v. U.S., the government
has been negligent in denying Plaintiff the right to know what they did to her during the surgery at the VAMC in Litle
Rock, AR. One of their research facilities (North Little Rock, AR) was only a few blocks away from the McClellan
VAMC. So they had access, they had the ability, motive and opportunity presented itself to use the RF technology and
they took it. Without my consent and they should put some measures in place to stop it. But they didn’t.

9(d). For thirteen years, Plaintiff has been bound, enslaved by a government who sought to control her indefinitely
Control her thoughts, control who she talked to, control every move she made. And if she didn’t talk, or act the way
they approved of, all they had to do was send a beam to her skull which penetrated her brain, All they had to do was
change the frequency of the devices. According to the government pain was needed to change behavior. And
according to them, l needed to experience lots of pain. Thirteen years of pain to be exact. Plaintiff’s attempts to know
the truth, to get free according to the 13“‘ Amendment to the Constitution and my Creator, were sniffled. The media
knows, my neighbors know (various active duty Air Force personnel, special forces personnel, a government
contractor Anthony Vitello and his wife who is a nurse), my Representatives know. Department of Veteran Affairs
physicians and staff know what’s going on. Dr. Kurkunki implanted the the microchips all over my body, Dr. Budgin
acknowledged them by saying, “they’re not metal.” VA staff members know because it has been documented in my
medical records that there is a metal plate in my lower back. Some of the microchips are metal and some are not.
When l pressed Dr. Budgin for answers she immediately excused herself to talk with her supervisor Dr. Peterson. l
made an appointment with Dr. Peterson and he refused to see me. l Was told on the day of the appointment when l
attempted to check in, that Dr. Peterson no longer worked for the VA Healthcare System. This is documented in a
PATS tracking number assigned by Mr. Chris Peterson, a patient advocate in Denver. Plaintiff has been shuffled
around routinely and systematically in an effort by the VA to conceal the facts and the truth and to disrupt her medical
care. The mainstream media knows, in yet its supposed to be a matter of national security lt must be noted that the
microchips in my ankles have satellite GPS tracking capability which is used by Sheriff departments to monitor
parolees. Which means that Plaintiff is being monitored for a crime without Due Process of law, without trial and
possibly based on my Separation and/or Reenlistment code on my DD-214. A United States citizen cannot be held
indefinitely without trial according to 42 U.S.C., or in this case due to a military separation code.

9(e). The evidence shows that as in Elliot v. U.S., the government has violated their own rules and procedures They
have also violated the Nuremberg Code, the lntemational Human Rights Treaty which was signed by the U.S. along
with 48 other countries. The evidence shows that the government was negligent to unmask Plaintiff’s identity or the
identity of any other ‘test’ subject or U.S. citizens (especially veterans) who are being used for ‘routine training
exercises.’ Nothing that they have done to me can be undone. It’s too late for the government to say it’s a matter of
national security It’s too late for that. But it is not too late for justice. According to Hon. Sen. John McCain, we have
to restore law, order and decency back to our society We must restore the rule of law otherwise we’re no different
from any third-world country The United States government, their entities (FBI, CIA, DOD, DOJ) along with the
Departrnent of Veterans Affairs has done Plaintiff great harm. l can’t get those years back. I can’t get my family back.
But it is my hope that before I die, I will get justice.

9(f). The evidence presented to this Court shows that a nexus of state actors have been employed and that the
government continues up to this day to unlawfully experiment on her despite her many requests for them to stop. lt is
the responsibility of this Court to say enough. The Court must compel the government to put measures in place to turn
off the device, remove them, or in some other way limit access to them or make sure their ‘test’ subjects are not
abused. They must be compelled to supervise those given access to them and not lend access to the public. There
must be some accountability of those involved from start to finish. And for the sake of human dignity there must be
an end to all human experimentation especially if the person being experimented on gave no consent in the first place
and wants the experimentation to stop.

10. Violations of the NUREMBERG Code which states that all human experimentation must be done with the
informed consent of the patient. See US v. Alstoetter et al, 1947.

11. Unlawful Implantation of Microchips during surgery and hospitalization at VA Hospital in Little Rock, AR and

VA Medical facility in Dallas, TX., and the subsequent use of RF frequencies targeted at Plaintiffs’ body parts which
were unlawfully implanted to include: right side of brain, chest, right breast, left and right knees and ankles and right

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side of vaginal area.

12. Thirteen years of RF and electronic harassment due to the unlawful implantation of microchips at the VAMC in
Arkansas,

13. Subjection to ‘routine training exercises’ against her will and COlNTELPro and MKUltra type treatment for 13
years by various agents of law enforcement involved from three different states: Arkansas, Texas and Colorado.

14. Contracting with Austin Dental Works to unlawfully implant microchip in the tooth of Primary Plaintiff during
dental visit and falsifying a medical x-ray at St. Davids' Medical Center to hide/conceal image of microchip in
Plaintiffs' chest. Where the government negligently selects a third party to carry out its policy, there is a duty to do so
reasonably Melton v. United States, supra.

15. Falsification of medical records by VA employees who falsely stated that l gave the VA ‘implied consent’ for all
their experiments and for the sharing of my personal information and records.

16. Various causes of action exist both civil and criminal, which include but are not limited to: 4'h Amendment; 5th
Amendment; 13Lh Amendment, see US v. Amistad (1841); 42 U.S.C. 1983-Denial of Rights under Color of Law;
Civil Conspiracy and Collusion and/or Fraud; Gross Negligence; violations of FISA and Patriot Act; War Crimes Act
of 1949; Crimes Against Humanity; Obstruction of Justice; V101ations of FOIA Act; Tort of Outrage; Unlawful Entry
on Property and Installation of Surveillance Equipment; Misdiagnoses and lntentional lnfliction of Emotional
Distress, lntentional Concealment of Facts.

17. Unlawful use of Chemical Warfare against an American citizen by tampering with water supply, use of Anthrax
and other chemical agents, which caused outbreaks in skin of Primary Plaintiff, in violation of 50 U.S.C. 1520(a).

18. Gross violations of privacy by unmasking Plaintiffs' identity causing harassments by neighbors Harvey Lewis,
Anthony Vitello, a government contractor at Ft. Carson Air Force Base, his wife Stephanie Locklar, a registered
nurse, Fr. David Price, Pastor of St. Mary's Parish in Colorado Springs, CO and hundreds of other agents daily, over
the course of thirteen years,

19. Blatant disregard for harmful effects of RF frequency beams, FCC Rule 47 Part 15 CFR 1.1310 governing
radiation limits. Blatant disregard for human and animal experimentation and/or test subjects.

20. lntellectual Property Rights violations. Every human being has the right to think without interference from the
government to control their thoughts and/or steal them away a persons' thoughts are their own personal property as
endowed to them by their Creator as well as United States Copyright and lntellectnal Property laws.

21. Denial by the United States Depaltment of Veterans Affairs Tort Claim filed in 2012 and 2018.

22. Numerous malicious attempted murder plots to inhibit Plaintiff from filing claim, protect persons and conceal the
truth based on my repeated pleas for the electronic torture, harassment and enslavement to stop (which were all
ignored), multiple attempts by the Department of Veterans Affairs to use the microchips implanted inside my body to
kill me by causing my heart to stop, beat rapidly and uncontrollably, refusal of the VA to perform EKG and other
testing, and refusal of the Departrnent of Veterans Affairs to remove the implants from my body although they had
knowledge of them. According to former PCP at the Denver VAMC when l asked her if they were metal, she stated,
"No, they're not metal!"

23. l-larmful effects that prolonged exposure to RF frequency beams have on the human body, possible reduced life
expectancy reduced quality of life, personal threats on my life, and alleged placement on ‘Citizen Kill List.” See
letter to Sen. Wyden (OR) by CANR and the Catholic Psychiatric Hospitals abuse practices which they may have
used throughout the last four or five years of harassment and preventing me from practicing my faith and religion in
peace and using priests and members of the Air Force to harass Plaintiff.

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24. Libel/Slander by lntentionally misleading public by falsely claiming through anonymous leak sources (including
mainstream media), and a nexus of state actors, that Primary Plaintiff was mentally disturbed and needed to be
monitored for public safety concems, or was under investigation for alleged connections with Russians.

25. Extended sleep deprivation and remote sexual assault via microchip implanted in Plaintiffs’ vagina and forced
orgasms.

26. Harmful effects on Plaintiffs' daughter from witnessing (and in some cases being coerced into participating in)
psychological harassment against her own parent and threats against her safety if she revealed any actors of agents or
their participation In May of2018, a Caucasian female student walks up to the Plaintiffs’ car window and makes an
obscene gesture with her finger at Plaintiff, Plaintiff was waiting inside her vehicle in the drop-off area of UCCS
(University of Colorado at Colorado Springs). Several student, faculty and staff have participated in some type of
harassment of Plaintiff during each of her visits to the college. lt is worth noting that during his campaign, then
candidate Donald Trump, visited the college several times. lt is believed that either he or his campaign staff played a
role in unmasking the identity of the Plaintiff and thus unmasking the identity of her daughter in violation of FERPA
laws. Secondary Plaintiff has suffered mental distress by students, and faculty as a result.

26 (b). This is not a claim against President Obama, although many of the events occurred on his watch or due to his
executive orders and continue up to this day with the current POTUS who said in his recent State of the Union
Address, “we have seen the metal plate in the spine of the American people.”

27. Violations of the Animal Welfare Act of 1966 by unlawfully implanting the Primary Plaintiffs' service dog Callie
with a microchip on the right side of his skull, for his pain and suffering The trauma of being forced into the
treatment, sicknesses associated With the implant, nightrnares and other unusual behavior due to his interaction with
someone other than owner. The unusual behavior includes jerking motion as if he is feeling pain or shock from a
remote source which is a form of electronic torture on the service animal, frequent bloody stool. Current PCP at the
Denver VAMC, Dr. Drexall, may have knowledge of these facts.

27(b). A veterinarian at Banfield Pet Hospital stated to Plaintiff that her service animal was sick because of
“something they put inside him.” My home is the only place where they could have put ‘something inside” my
service animal. The sore both the Plaintiff and her daughter saw on the right side of Callie’s skull looked very much
like the shape of the discharge from the implant in Plaintiff’s vagina which she saw during her menstrual flow.

FACTS PERTAINING TO PARTIES

28. Primary Plaintiff, SPC Maxine Shepard, is an individual representing herself pro se, with physical residence
located in Colorado Springs, CO and is hereinafter referred to as the Primary Plaintiff, She is a veteran of the US
Arrned Forces, discharged under other than dishonorable conditions, and who also served in the US Army National
Guard in Arkansas, She is a single black female, aged 52, and is currently receiving compensation at 100% level for
PTSD due to Military Sexual Trauma, lU and other service-connected disabilities

29. Secondary Plaintiff, Ms. Anna Ayerki Siaw-Sappore, is the daughter of the Primary Plaintiff, she resides with
Primary Plaintiff in Colorado Springs, CO and is hereinafter referred to as the Secondary Plaintiff,

30. Third Plaintiff, Canine Callie, is the service dog of the Primary Plaintiff, who was have been implanted with GPS
or other type of microchip in order to keep track of the Primary Plaintiff. (where he goes l go), and for other purposes.

31. Defendant, The US Departrnent of Veterans Affairs, is a government entity with principle offices located at 810
Vermont Ave., NW, Washington, DC 20420. The Department of Veterans Affairs is charged with providing medical
care for active duty members of the Arrned Forces as well as veterans and in some cases their dependents. Notice Was
provided to the Secretary Robert A. McDonald who was the Secretary at the time 1151 Tort Claim was filed. There is
currently no active Secretary of the Departrnent of Veterans Affairs, as Secretary David Shulkin was recently fired by
Pres. Trump on March 28, 2018. Hon. Robert Wilkie is now the acting Secretary of Veterans Affairs until a new one is
confirmed by the Senate. Defendant, the US Department of Veterans Affairs will hereinafter be referred to as the VA.

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32. Defendant, The United States Govemment, is a government entity with principle offices located in Washington,
DC. The United States Govemment may be served by and through the US Attomey who is the Hon. J eff Sessions, at
principle place of business, the Departrnent of Justice, 950 Pennsylvania Avenue NW, Washington, DC 20530.
Defendant, the United States Govemment, is hereinafter referred to as the US Govemment,

33.Defendant, (DOD, DOJ, CIA and FBI), of the United States Govemment, consists of a President, his cabinet,
Congress and various local, state, and national actors and entities engaged in authoritative control and governance of
the United States of America. The US Govemment is represented by 23 agencies (such as DHS who was also
involved in the Tuskegee experiment), bureaus and offices. The principle members are the Departrnent of Justice, the
Departrnent of Defense and the Federal Bureau of Investigation. They will be hereinafter referred to as the DOJ,
DOD, FBI, respectively Any and all of the other known or unknown state actors assigned by these entities will be
hereinafter referred to as state actors

34. Defendant, St. David Medical Center, is a civilian hospital located in Austin, TX. On December 20, 2015, This
medical facility corroborated with the VA to conceal the identity of the microchip which was implanted by the VA in
2005, from an x-ray. Staff at St. Davids' Medical Center altered the x-ray by flipping it backwards The original x-ray
was seen while the Primary Plaintiff was lying on the bed in the emergency room immediately after it was taken. She
asked the x-ray technician what the white spot was on the x-ray and he confirmed it was a foreign object. lt is on this
date that the Primary Plaintiff first actually saw the microchip and therefore statute of limitations do not apply Until
this date, it was not clearly known by Plaintiff what the VA had done to her during the surgery

35. During employment at Cardinal Health, between approximately 2008 or 2009, the Primary Plaintiff was forced to
take a Fit for Duty exam with a doctor assigned by her employer. The doctor who examined Primary Plaintiff stated to
her, "You don't know what they did to you during your surgery"

36. Defendant, Dr. Nguyen DDS., Austin Dental Works, whose principle place of business is located at, 4601 N.
Lamar Blvd., #503, Austin, TX 78751. Primary Plaintiff was implanted with microchip in right wisdom tooth during
routine dental work at request and upon instruction from state actor(s). Dr. Nguyen stated to Primary Plaintiff, "we
(meaning the VA and other actors) just want to monitor you for a few weeks." The "few weeks" has turned into years

FACTS PERTAINING TO CASE

37. Over the years l have done quite a lot of research into mind control, psychological harassment ln fact, l wrote and
published a book about it entitled: “A Case for Freedom: Love v. Hate.” lt was written in 2009, shortly after my
completion of a paralegal course with a 3.0 GPA. l was blacklisted and not able to obtain employment and the
instructor put me out of the program one day before graduation, so l was not allowed to walk across the stage with my
peers. l was separated and isolated from my peers and was made to do my classwork by myself in another room.
Citing Brown v. Board of Education and other federal statutes, l filed a lawsuit: Sappore v. Arlington Career Institute;
3:09 CV 1671 (TX 2009).

38. l Was denied justice in the suit against Arlington Career lnstitute, but l mention it because it shows due diligence
in seeking justice, the tactics used and an approximate start date or record of events for claim purposes lt has
progressed to the point of a life threatening condition of undiagnosed diseases and illnesses, my inability to sleep,
lessening of memory and ability to think and formulate spoken sentences Among other things, l have a reduced
desire to live and feel as though l will never ‘be myself” again. My true self, an aspiring lawyer and minister, was
taken from me and now l just exist, although some will say, that l don’t, exist that is. l have been subjected to most of
the technologies mentioned in this claim: hypnotic triggers, RF, voice-to-skull, ULF, VHF, ultrasound, pulsed
microwave, and through-wall-surveillance that is still installed in my home, They have also tampered with my garage
door to gain access into my home and/or allow my neighbors to do so for them, Anthony Vitello, neighbor and
government contractor at Ft. Carson Air Force Base has talked to me about how he would have difficulty entering my
home because the couch and lamp were “in the way”

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39. l believe l was ‘chosen’ as a target because at the time of my surgery at the Departrnent of Veterans Affairs
Hospital, it was determined that l was a trouble maker who needed ‘behavior modification’ and to be ‘taught a
lesson.’ My skin was my sin. l was being watched due to my discrimination lawsuit against Pulaski Technical
College. The college was very well connected and the judge in the case said that although l proved my case, they (the
college) was a white elephant and too big to fail. Nonetheless, l upset a lot of prominent people with the suit which
was just a few months before my surgery at the VA. lt is my opinion that there is a link between the college and the
Departrnent of Veterans Affairs who complied with the FBl and/or ClA to implant me with microchips during my
surgery The VA’s knowledge of Voice To Skull (aka V2K) technology was documented in 1974 during course of
research at a VA hospital in Kansas City, MO.

40. Various VA employees have falsified Plaintiffs' medical records by stating that she provided 'implied consent.’
Never once was l informed of my right to participate in or deny the experimentation or implantation with microchips,
especially not in her vagina. Knowledge for certain of the fact that she was unlawfully implanted occurred during an
emergency room visit at St. Davids’ Medical Center in Austin, TX in 2015. Armed with this knowledge she did due
diligence to find out what her legal options were, accordingly Plaintiff filed a 38 U.S.C. 1151 claim with the VA.
Before this claim, Plaintiff filed an FTCA Administrative Claim in 2012, which were both denied. The most recent
denial came in March of 2018.

41. Early on, the courts did not recognize mind manipulation and electronic harassment as they do now. lt must be
emphasized that the treatment that they put me through is usually reserved for extremely dangerous terrorists like
Zapata (see CIA Torture Report of 2014).

42. l published a website in 2013 called: www.stmarymagdalenhfa.org, on which l also pleaded for legal help and
published some of the harassment that I was experiencing l have also contacted several Congressional and Senate
officials A copy of some of the letters is attached to this claim. The evidence will show that the Departrnent of
Veterans Affairs had done many years of testing in V2K, mind control, and RF testing and/or experimentation

43. From 2016 - Present the VA has been using a priest, Fr. David Price to relay sub-vocal technology information
from Plaintiffs' mind during his homilies at St. Marys` Parish in Colorado Springs, CO. Plaintiff is a member of this
parish and has repeatedly asked the Pastor to cease and desist, but he has not. Repairs are needed by the parish and
monetary compensation may be a factor in Fr. Prices' willingness to harass a disabled veteran and member of his
parish. Fr. Prices' most recent sub-vocal speech message was relayed during Mass on Sunday, May 6, 2018. Other
members of the parish such as Jim Wiley have been allowed to harass Plaintiff by using another technology implanted
into the Plaintiff which allows her to hear someone's voice either while sleeping or going about her daily activities
Mr. Wiley told the Fr. Price he was offended by me as if that was a prerequisite for them gaining access to the
technology inside my body lt seemed Fr. Price was not only the point of contact at the Church, but a person who
knew who to contact with approval or disapproval of persons to harass Plaintiff.

43(b). Fr. Price is not above giving the Plaintiff a chalice of what should be consecrated wine which is actually filled
with drops of tissue from menstrual blood mixed on the alter during Mass - a form of witchcraft supported by many
in the Catholic Church while Plaintiff lived in Austin and has continued in Colorado. lt should be illegal and
considered deliberate act of domestic terrorism and/or poisoning. lt is an abomination to God! ln the Catholic Church,
the EMHC (Eucharistic Minister of Holy Communion) is supposed to drink any remaining consecrated substance in
the chalice after all participants have been served. Some of the people Who saw the tissue sitting at the bottom of the
chalice refused to drink it. l refused to drink it as well. lt was obviously a foreign substance that should not have been
inside the chalice. lt was approximately the size of a dime.

44. Sub-vocal technology works by using special equipment to detect muscle contractions like the ones a person uses
when speaking out loud. When spoken to itself these muscle movements can be detected by advanced equipment and
translated into words and sentences As most people talk to themselves when 'thinking', this can resemble mind
reading. (see excerpt from Www.electronictgrture.com, par. 175 of the Methods/Stages/Symptoms section of this
petition). One of the microchips implanted into the Plaintiff uses this type of technology In V2K technology special
advanced equipment is used to beam voices, music or other sounds into a persons' head. The Plaintiff was also
implanted with this type of microchip. lt may be the same microchip that uses the sub-vocal technology or a different

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one. The VA has denied Plaintiff the right to know by purposely concealing this information from her.

45. lnterestingly enough the government has denied Plaintiffs' requests to know about the nature and scope of the
microchips inside her body by claiming that the information is classified, yet all a person has to do is say they are
offended by the Plaintiff and they receive access to it. They want their cake and eat it to. Either it is classified or it is
not. Either way the general public should not be allowed to access information from Plaintiffs' brain. At the very
least, they owe some care in keeping this information out of the public domain if for no other reason but the dignity
of the person involved in the experimentation lt has become over the years, less a form of experimentation, but more
about judgment without trial or due process based on public opinion and the Plaintiff not being well liked by the
masses and/or political reasons - being used as a political football as it were. lt matters not to the VA that l have been
declared by them to be 100% permanently and totally disable due to service-connected injuries ln Plaintiffs' case,
military sexual trauma is one rating.

46. The pain is so intense at times it feels as though it is penetrating straight through the Plaintiffs bones as published
on Facebook account. lt is the belief of the VA (in this unlawful experimentation on the Plaintiff) that pain is needed
to change behavior. The following information is used to describe in more detail the kinds of electronic attacks,
involvement of various VA facilities as prima facie proof of this claim, the stages and symptoms The claims for
sleeplessness, migraine headaches, pain in both ankles, memory loss and uncontrollable vagina orgasms were all
denied by the VA, but l contend that they are a direct result of the implantation of the microchips to induce them,
lt also speaks of the level of depravity of the VA and their employees

47. The United States and the Department of Veterans Affairs have been grossly negligent in allowing numerous
remote sexual assaults using microchip implanted in Primary Plaintiff’s vagina implanted at the Dallas, TX VA
Medical Center, forced orgasms, erotic dreams (some with well-known political leaders such as Russian President
Vladimir Putin). This was their idea of having fun. l felt as if my dreams were being displayed openly to the public as
if in a movie theatre. l could hear the remarks of the people watching say things like, “Let the man get some pussy!”
There were some celebrities in my dream that l could hear making comments One of them Was allegedly Steve
Harvey the WOO Tang Clan, and which singer Pharelle proudly displayed on t-shirt on “The Voice”. l believe the VA
along with other federal agencies and state actors, openly shared my dreams and not only the knowledge of the
implants inside me, but how to manipulate them remotely l still experience to this day what l call, ‘Cell Phone
Assaults.’ My identity and location are released when l am out in public and people would actually point their cell
phones at my chest. There are several apps available to detect RF signals lt is unknown what data is transmitted to
these apps if people are able to get close enough to the microchips in my body to make a connection. Only the VA and
other federal agencies with knowledge of them would know this They refuse to tell me or protect me from these kind
of remote public assaults l believe that all persons have an expectation of privacy of any devices inside their body
whether they are at home or a public place.

48. Plaintiff has also been subjected to voices that said over and over again, ‘Allah Akbar,’ that l Was a ‘bitch,’ that l
‘should die’, and she has been subjected to extreme hatred by people she doesn’t even know, but who knew a lot
about my personal affairs Things the general public should not know such as my medical and/or banking
information

49.l have not had sound sleep in over seven years (2010 - present) and I believe the harassment, experimentation got
worse and worse from 2009 - 2016. What the government took from me was something that is hard to put a price on -
a woman’s dignity My right to be treated with dignity was viciously taken away with every sexual assault, with every
release to the media, with unauthorized recordings, with maltreatment by VA employees, with every illegal access
into my horne and rummaging through my drawers and personal effects, with every attack against my child and
service animal. And it seemed that my government knew about it and did nothing to stop me from being humiliated
by the public at large, but in fact encouraged it. l will never be the same and it feels like l’ve lost thirteen years of my
life. l have to focus really hard just to think about simple things, and needing help with ADL from my daughter, who
herself, has also been traumatized.

50. l can recall a dream that was interrupted with a voice l recognized as the head of the CDC, Mr. Tom Frieden
(2009-2017). l-le said to me in the dream, “Screw you!” He was apparently angry at some words l posted on my

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website about his agency being in control of the microchips in the flu vaccines According to the ACA of 2010, every
American citizen had to get chipped. One way to accomplish that task was through flu vaccines All l want is justice
and to be left lone. That’s all l’ve wanted for the past twelve years (not five minutes of fame). l want someone to care
about what has happened to me. Not because l’m so special, but because l am a human being who has been grossly
mistreated. Govemment officials should not be allowed to use their positions and federal funding to harm, target or
kill American citizens And when they do, they should be held accountable for their actions

51. My pleas for justice caused me to be ostracized from my own family and from the public. My pleas for justice
caused me to be battered and abused by the very people who have vowed to uphold the Constitution and ‘to Care for
him who has served and borne the battle, and for his widow and his orphans..’

52, One of the cases Plaintiff sites in her 1151 Claim is Orlikow v. US., 682 F. Supp., 77 (D.D.C. 1988). ln this case,
an FTCA Plaintiff(s) states that they were harassed and subjected to experimentation against their will by the ClA.
Here we are almost thirty years later, addressing the same issue of non-consensual experimentation, unethical and
inhumane treatment of US citizens lt is my hope and prayer that our leaders will have more value for human life and
the human person so that thirty years from now, these kinds of claims will no longer exist. Every human being has a
right to think and develop their own mind. l contend that my thoughts are my own ‘lntellectual Property’ in
accordance with U.S. Copyright and lntellectual Property Laws, and therefore should not and cannot be infringed
upon, or broadcast by electronic means without being in violation of such law.

METHODS/STAGES/SYMPTOMS

53. STATE OF UNCLASSIFIED AND COMMERCIAL TECHNOLOGY CAPABLE OF SOME
ELECTRONIC MIND CONTROL EFFECTS

BY Eleanor White, P. Eng., April 4, 2000 ; http://www.raven1.net/uncom.htm

Taken from the accounts of 300 targeted victims of electronic harassment,

The Methods:

54. Since government-backed electronic mind control is classified at the highest levels in all technologically capable
governments the description of effects is taken from the personal experiences of over 300 known involuntary
experimentees. The experimentees without exception report that once the “testing” begins, the classified experiment
specification apparently requires that the “testing” be continued for life, Many are young, seniors, some in 705 and
805. Some have children and the children are often subjected to the same “testing” as their parents

55. All “testing” consists of unique, carefully engineered-unprovable events to produce psychological stress in the
victim. There are no events which do not fit that apparent purpose.

56. ln every series of stress event type, ONE introductory event of very high energy/effect is staged. The obvious
purpose is to be certain the Victim (or target) knows this is external harassment, and not just ‘bad luck.’ From that
time forward, the experimenters appear to apply “Pavlovian training” so that they can get the victim to ‘jump’ (or
react in some way) to the same effect at a tiny fraction of the initial ‘introductory’ event.

57. This type of testing started during the Cold Was, and shows every characteristic of being for military and
intelligence psychological warfare purposes

58. This type of testing on all points is to CONTROL the test subject. Endlessly repeated words generated
inescapably within the skull are just one hypnosis-like experience.

59. Given that CONTROL is the likely ultimate purpose, INVOLUNTARY test subjects become a necessity Thus, the
phenomenon of people apparently being chosen at random for this ‘work.’

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60. Given a requirement for lNVOLUNTARY test subjects, the ONLY group with the necessary funds and legal
powers is GOVERNMENT. Private contractors are no doubt the main perpetrators to keep the ‘work’ well covered,
but without secret complicity of GOVERNMENT, this expensive, extensive, and illegal atrocity simply could not
happen.

61. Invasive at-a-distance body effects (including mind).

62. Sleep deprivation and fatigue.

63. Silent, but instantaneous application of ‘electronic caffeine’ signal, forces awake and keeps awake.

64. Loud noise from neighbors, usually synchronized to attempts of target to fall asleep.

65. Precision-to-the-second ‘allowed sleep’ and ‘forced awakening’ far too precise and repeated to be natural.

66. Daytime ‘fatigue attacks’ can force the victim to sleep and/or weaken the muscles to the point of collapse.

67. Audible Voice to Skull (VZS) delivered by apparent at a distance radio signal made to appear as emanating from
this air.

68. Voices or sound effects only the victim can hear.

69. lnaudible Voice to Skull (Silent Sound) delivered by apparent at a distance radio signal; manifested by sudden
urges to do something/go somewhere they would not otherwise want to; silent (ultrasonic) hypnosis presumed.

70. Programming hypnotic ‘triggers’ ie specific phrases or other cues which cause specific involuntary actions
71. Violent muscle triggering (flailing of limbs).

72. Leg or arm jerks to violently force awake and keep awake.

73. Whole body jerks, as if body had been hit by large jolt of electricity

74. Precision manipulation of body parts (slow, specific purpose).

75. Manipulation of hands, forced to synchronize with closed eyes but FULLY AWAKE vision of previous day; very
powerful and coercive, not a dream,

76. Slow bending almost 90 degrees backwards of one toe at a time or one finger at a time.
77. Direct at a distance control of breathing and vocal cords; including involuntary speech.
78. Spot blanking of memory long and short term.

79. Engineered skits where your thoughts are spoken to you by strangers on street or events requiring knowledge of
what you were thinking

80. Real time reading sub-vocalized words, as while the victim reads a book, and BROADCASTING those words to
nearby people (or media) who form an amazed audience around the victim.

81. Direct application to pain to body parts

82. Hot needles deep in flesh sensation.

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83. Electric shocks (no wires whatsoever applied).

84. Powerful and unquenchable itching, often applied precisely when victim attempts to do something to expose this
‘work.’

85. Artificial fever, sudden, no illness present.
86. Sudden racing heartbeat, relaxed situation.

87. Through wall radar and rapping under your feet as you move about your apartment, on ceiling of apartment
below.

88. Through Wall radar used to monitor starting and stopping of your urination - water below turned on and off in
sync With your urine stream.

89. lnvasive physical effects at a distance, non-body

90. Stoppage of power to appliances and manipulation of appliances settings (temporary, breaker on).

91. External stress-generating skits.

92. Rudeness for no cause.

93. Purchases delayed, spoiled, or lost at a high rate.

94. Unusually loud music, noise, far beyond normal.

95. Break-in/sabotage at home,

96. Shredding of clothing.

97. Destruction of furniture.

98. Deletion or corruption of computer files

99. Spreading of rumors, sabotage to your working reputation.

100. Direct sabotage and theft of completed work.

101. Sabotage at work.

102. Comments added by Plaintiff- Targets are isolated from family and friends or anyone that supports them. This
makes the target more vulnerable and instills a sense of helplessness which is why so many veterans comment
suicide. Veterans are targeted more than any other group in America. Success as far as the perpetrators are concerned,

includes having the target diagnosed with a mental illness, having them commit a crime, or committed to a mental
institution.

Comments by Dr. Delgado:

103. Dr. Jose Delgado (MKULTRA experimenter who demonstrated a radio-controlled on CNN in 1985). “Man does
not have the right to develop his own mind. This kind of liberal orientation has great appeal. We must electronically
control the brain, Some day armies and generals will be controlled by electrical stimulation of the brain.”

104. Congressional Record No. 26, Vol.118, February 24, 1974: “Monkeys in restraint, wires coming out of top of

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skull, left image “normal,” right image with electric current being fed into the monkey’s brain - note pupil sizes and
clenched teeth! These images portray Dr. Delgado’s ruthless disregard for life, pain, and suffering!

105. MAJOR TECHNOLOGY CLASSES: TRANSMISSION METHODS FOR NEURO-SIGNALS

Excerpts from white paper by Eleanor White:

106. Pulsed Microwave (PM), (ie like radar signals).

107. Ultrasound (US) and Voice-FM (transmitted through the air).

108. Pavlovian Hypnotic Triggers - A Pavlovian hypnotic trigger is a phrase or any other sensory cue which the
victim is programmed to involuntarily act on in a certain way The 505 - 70s MKULTRA survivors can still be
triggered from programming done years ago.

Through Wall (TW) Surveillance Methods:

109. Passive (no signal radiated, uses background).

110. Radiation already in the area to be scanned, totally undetectable.

111. Active (low power millimeter wave ‘flashlight’ attached to the scanner just as a conventional light mounted on a
camcorder), or, the use of archaeological ground penetrating radar.

Thought Reading (TR):

112. Through-Skull Microwave Reading.
113. Magnetic Skull-Proximity Reading.
Brain Entrainment:

114. Reverse Feedback using low frequency electrical brain rhythms which are characteristics of various moods and
states of sleep.

115. lmplantation (IMP) - used to assist the above technologies

116. TI-IE LIDA MACHINE
Loma Linda Veterans Hospital Research Unit, San Bernardino County
Excerpts from white paper by Eleanor White:

117. A Soviet device that bombards brains with low-frequency radio waves may be a replacement for tranquilizers
and their unwanted side effects, but it’s use on humans poses ethical and political questions

118. The machine, known as the LIDA, is on loan to the Jerry L. Pettis Memorial Veterans Hospital through a medical
exchange program between the Soviet Union and the United States. Veterans Hospital researchers have found changes
in behavior in animals

119. The device has not been approved for use with humans in this country although the Russians have done so since
at least 1960. Low frequency radio waves simulate the brain’s own electromagnetic current and produce a trance-like
state, Dr. Adey (Chief of Research at the Veterans Hospital), said he put a cat in a box and turned on the LlDA.

120. “Within a matter of two or three minutes it is sitting there very quietly...it stays almost as though it were
transfixed,” he said. See US Patent #3,773,049.

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121. “Effects of Human Auditory System Response to Modulated Electromagnetic Energy”,
Allan H. Frey, GE Advanced Electronics Center, Comell University, lthaca, NY
J. Allp. Physiol., 17 (4): 689-692. 1962. Transcript courtesy of MindNetArchives, Mike Coyle:

122. ln 1962, frequencies were expressed as kiloCYCLES, megaCYCLES, etc., with abbreviations being kc and mc.

123. The intent of this paper is to bring a new phenomena to the attention of physiologists. Using extremely low
average power densities of electromagnetic energy the perception of sound was induced in normal and deaf humans
The effect was induced several hundred feet from the antenna the instant the transmitter was turned on, and is a
function of carrier frequency and modulation.

124. A significant amount of research has been conducted with the effects of radio-frequency (rf) energy on
organisms (electro-magnetic energy between 1 kc and ** Gc). 'lypically, this work has been concerned with
determining damage resulting from body temperature increase. The average power densities used have been on the
order of 0.1 tw/cm2 used over many minutes to several hours

125. With somewhat different transmission parameters you can induce the perception of severe buffeting of the head,
without such apparent vestibular symptoms as dizziness or nausea. Changing transmitter parameters down, one can
induce a ‘pins-and-needles’ sensation.

126. VOICE TO SKULL (VZK), 1974 Success

Veterans Administration Hospital, Kansas City, Missouri

Excerpts from white paper by Eleanor White:

(As published in American Psychologist Joumal of the American Psychological Association, Volume 30, March 1975,
Number 3)

127. Frey and Messenger (1973) and Guy, Chou, Lin, and Christensen (1975) confirmed that a microwave pulse with
a slow rise time is ineffective in producing an auditory response; only the rise time is short, resulting in effect in a
square wave with respect to the leading edge of the envelope of radiated radio-frequency energy does the auditory
response occur.

128. Given a therrnodynamic interpretation, it Would follow that information can be encoded in the energy and
‘communicated’ to the ‘listener.’ Communication has in fact been demonstrated A. Guy, a skilled telegrapher,
arranged for his father, a retired railroad telegrapher, to operate a key, each closure and opening of which resulted in a
pulse of microwave energy

129. By directing the radiations at his own head, complex messages via the Continental Morse Code were readily
received by Guy, Sharp and Grove found that appropriate modulation of microwave energy can result in ‘wireless’
and ‘receiver-less’ communication of speech. The capability of communicating directly with a human being by
‘receiver-less radio.’ Added by Plaintiff: (l have also heard what l believed to be a rhythmic tapping sound in my left
ear that sounded much like morse code, l also experience a ringing tone 24/7 from this ear, my right ear has a painful
throbbing day and night).

130. Sounds and possibly even words which appear to be originating intercranially (within the head) can be induced
by signal modulation at very low average power densities, the study said. One physiological effect which has been
demonstrated is heart seizure. Added by Plaintiff: (l have experienced inter-cranial sounds, voices, sentences and
phrases, voices were recognizable in some cases, commands such as ‘lift your arm up,’ or ‘sit down,’ or suggestions
to drink or smoke, say things l wouldn't ordinarily say or experience some sexual activity against my will).

131. The report said this has been accomplished experimentally in frogs by synchronizing the pulses of a microwave
signal with the animal’s heartbeat and beaming the radiation at the chest area.

The effects of low power microwave on rats:

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132. Under MERADCOM’s ln-l-louse Laboratory lndependent Research (lLlR) Program an experimental effort to
explore the basic interaction between microwaves and brain function has been conducted. ln a joint with
MERADCOM, Stanford Research lnstitute (SRI) and Walter Reed Army lnstitute of Research (WRAIR), it was
shown for the first time that lethality, seizures and behavioral performance decrements were strongly frequency and
polarization dependent A later collaboration between MERADCOM and WRAIR demonstrated for the first time
increases in the differential uptake of saccharides to water in several brain regions of rats when exposed to low power
microwaves of the same characteristics which can create the perception of noise in people.

133. These increases could be caused by alterations of the blood-brain barrier, brain blood volume, cerebral blood
flow, or some combination of the above. ln order to better define and understand these results a joint program was
undertaken with MERADCOM, Naval Medical Research lnstitute (NMRI) and the National lnstitutes of Health
(NIH) to measure local cerebral blood flow in conscious rats when exposed to low power, pulsed microwaves

134. Recent experiments indicating that low power microwaves may affect brain and possibly alter central nervous
system function have caused Wide spread concern regarding the safety of such exposure. Of particular concern have
been recent reports from several different laboratories that low power microwaves may alter the permeability of the
blood-brain barrier (BBB). Several of the techniques used to measure BBB permeability depend on constant blood
flow during the experiment We now report for the first time that microwave exposure increases local cerebral blood
flow (LCBF) in the conscious rat.

135. Further experiments have led to the demonstration that brain functional activity sensory stimulation, cerebral
temperature, biochemical balance, blood volume, metabolism, BBB permeability and blood flow are coupled.
Microwave exposure has been experimentally shown to affect all of these parameters except LCBF. Humans and
small animals can perceive microwaves as auditory sensations. Microwaves and very high frequency (VHF) energy
have influenced spontaneous and conditioned electroencephalographic patterns in cats, rabbits, and rats. Low level
pulsed and continuous wave microwaves have altered glucose consumption in the auditory structures of rat brain.
Low intensity microwaves have caused thyroid suppression and adrenomdullary activation. Microwaves have also
been reported to affect behavior, neurotransmitter levels, BBB permeability cerebral calcium efflux, and behavioral
baselines to pharmacological agents

(End of excerpt from Eleanor White’s white paper).

136. PARTIAL LIST OF STAGES/SYMPTOMS CAUSED BY RF EXPOSURE

(Excerpt from http://www.us-government-torture.com/callallfriends.html, and my own experiences some of which
are documented in my medical records)

137. lst Stage Signs of Electromagnetic Energy Exposure:

. Nervousness.

. lrritability

. Feeling a shock as one drifts off to sleep.

. Seeing lights as one drifts off to sleep.

. Compressing the vertebrae.

. Sensitivity to sound.

. Depression.

. Minor spasms and cramps.

. lnability to concentrate.

10. Loss of memory

11. Night sweats.

12. Ear sensitive to touch.

13. Upon waking finding that the muscles of the back are ting]ing as if electrified.
14. Ringing in one or both ears and or hear tone bursts.
15. Teeth snap together when drowsy.

16. Loss of sleep.

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17. Nails become Wavy.
18. Water weight and cellulite accumulations on the upper thigh and buttock from cellular fluids displaced generally
from the head and upper body especially in women, where those fluids find ready redistribution in those areas

138. 2nd Stage Signs of Electromagnetic Energy Exposure:

. Burning sensation on the skin.

. Loss of hair.

. Feeling of temporary heating of the head (demodulating RF effect).

. Rashes.

. Narcoleptic reactions sleepiness.

. Sleep only after exhaustion.

. Virtual insomnia.

. Miscarriage.

9. Gaunt face.

10. Facial wrinkles.

11. Losing skin elasticity

12. Hair breaks from rapid microwave heat on hair causing increase fracturing of hair shafts

13. Accompanying activity of sabotage of business and or personal life, strange people in area, strange reactions from
people, items moved or missing in home.

14. Waking after sleep feeling as though you did not sleep, children's symptoms manifest themselves as ADD and
Hyperactivity.

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139. 3rd Stage Signs of Electromagnetic Energy Exposure:

1. Loss of coordination.

2. Accidents from sleeplessness,
3. Damage to eyesight.

4. Atrophy of the muscles

5. Heart valve damage.

6. Loss of weight.

7. lncrease of weight.

8. Nausea, vomiting.

9. Sensitivity to sound.

10. Decreased dexterity

11. Unaccountable increased heart rate.
12. Depression.

13. Seizure.

14. Choking.

15. Vivid dreams

16. Feeling of lost time.

17. Change of mood.

140. 4th Stage Signs of Electromagnetic Energy Exposure:

. Changes in the tone of the internal voice.

.Waking up in extreme pain, and arthritis condition.

. Spontaneous tearing without emotional thinking.

. Mild pressure in the head, a cloudy feeling.

. lncreased need to urinate during the night.

. Feeling puffs of air on the face, back and arms

. Eyelash movement, caused by a demodulation of energy on the skin.

. Sensation that blood is trickling into localized areas of the brain and other parts of the body-this feeling is akin to
the impression that these areas were devoid of blood.

9. Unaccountable increased heart rate just before drifting off to sleep causing the person to wake up.
10. The personality becomes quiet, a lack of thought takes place.

11. Decrease in mental activity and acuity

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12. Limbs jerk typically as one is trying to sleep,

13. Weakness.

14. Lethargy or hyperactivity.

15. Forgetfulness.

16. Aggravation and agitation for no apparent reason.

18. Chronic fatigue.

19. Glioma.

20. Cancerous lesions (which if not treated could lead to death).
21. Death and/or reduced life expectancy

141. A more detailed list of the methods and effects are listed in the chart below which is an excerpt from
http://electronictorture.com. The symptoms and seemingly random effects are actually precise, controlled
manipulation of the targets’ body and mind. This chart shows how the radio frequency beams can be aimed at
and effect different body parts singularly or simultaneously The reasons why the beams are applied to
different body parts is purely speculative, but non-the-less inhumane as I was an unwilling target of
government oppression. Grammatical corrections made.

 

142. MIND-READING

Sub-vocal speech Special equipment is used to detect muscle contractions like the ones a person uses when
speaking out loud. When spoken to itself these muscle movements can be detected by
advanced equipment and translated into words and sentences As most people talk to
themselves when ‘thinking’ this resembles mind reading.

 

How it is applied: They read your sub-vocal speech and react to it.

Feeling:Unbelievable at first, then you get depressed because the last thing you thought was
private appears not to be private anymore. Then you accept that you probably are even more
popular and watched then the big stars in the world and sometimes use it to deceive the
bastards. Horrible torture,

`Why it is applied:'l`o drive you insane.

 

§143. Seeing through your Although some targets claim that they can see what you see. They are looking at you from
eyes some camera built inside your car or from another car. They are looking at your eyes to see
what you are looking at, l experienced a few times thatl was burst.

 

§144. HEARING VOICES
§Voice-to-skull Special advanced equipment is used to beam voices or in fact any sound, into your head.

 

How it is applied:They make you hear voices that you should not hear.

For example, they let you hear voices from people far away very clear as if they are standing
next to you. There are a lot of reports of people who claim they are attacked by voices

Why it is applied;To drive you insane.

 

 

145. HEAD BEAMS
Top of your head beam tl` he top of your head is very sensitive. They will burn the top with some laser or microwave
weapon.

 

How it is applied:They put the beam on your head and wait for you to move.

 

 

 

 

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Feeling:Can be very painful if applied with enough intensity You cannot do much with this
beam on your head. Horrible torture.

After effects:lf applied with high intensity it may take several days for the painful feeling to
disappear.

Why it is applied:Prevent you from working, doing your thing.

Should you worry:Yes, long term irradiation may cause brain damage, tumors.

 

1146. Scratch beam They just beam your head somewhere The normal reaction is you will start scratching your
head.

How it is applied:Mostly applied when other people can see you. lf they do this every time
with the same people they may wonder whats wrong with you. They also apply this and have
random people scratch their heads and then burn you.

Feeling:Not very painful, mostly a short pulse, although they may keep the beam on your
head and remove it after you start scratching your head.

Why it is applied:Drive you out of your mind, drive you into attacking other people.

 

147. Headache beam This beam gives you a headache. lt is some kind of high intensity low frequency beam. The
headache appears suddenly and also disappears suddenly

Feeling:Can be very painful.

 

148. Sickness/Alcohol beam The feeling is that you feel a little bit dizzy, see thing a little foggy

How it is applied:They may apply this when you drink your first glass of beer, wine, etc. or
when you have a cold, or are sensitive to hay fever.

 

149. Cooking They put the microwave beamer on your head and your head is heated.
They may do this after you drink a glass of wine, but also after you turn on the central heating
of your apartment, You will feel hot, sick, slow.

 

150. Ear short burst Your ear is burst, the idea is to hit your eardrum. With your eardrum cooked/damaged you
have a strange feeling.

 

`151. Ear continuous beam Your ear is beamed for very long time just to present you pain, they want you to move.

Feeling:lt appears your eardrum and surrounding area is very sensitive. This is very painful.

 

152. Eye blur Your eye is burst and you have instant blurred vision. Often your eye will start tearing.

How it is applied:Some kind of microwave burst, see also Phaser and other similar military
weapons used to blind the enemy

Feeling:Not really painful,but you cannot do much as you are used to two eyes

 

 

 

 

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Why it is applied:Prevent you from working.

Should you wor_ry:Yes, this is very damaging for your eyes

 

i153. Eye sting Your eye is burst with some kind of laser beam.
Feeling:Like they drive a needle into your eye. Very painful!

Why it is applied:Stress discomfort

 

154. J ust below eye, tremble They beam at they area below your eye and the flesh below it starts trembling. They can do
this in shops and through wall.

 

155. Burn (beard) hair They burn away hair at certain locations e.g. your mustache hair just below your nose holes
to create the illusion of a leaking nose.

How it is applied:This is like a laser hair removal procedure, like performed in many beauty
parlors

 

156. Sneeze burst You are burst and must sneeze. This is a tingling sensation that can make you sneeze in an
instant.

How it is applied:You can turn your head in the other direction or hold your hand before your
nose to make sure the attack is caused by electronic weapons

Why it is applied:To make your body react to something

 

157. Runny nose You have a runny nose but do not have a cold. You may start thinking you have some kind of
strange cold but you have not. Once you are out of the beam, the runny nose disappears

How it is applied:l am not sure if this is done only by electronic weapon or by a combination
of some drug and electronic weapon.

 

158. Cough burst Your throat is burst with a high intensity burst and you start coughing instantly This coughing
does not look like normal coughing. You will have a sore throat immediately afterwards

 

159. Dry cough Like something fluid/moisture sticks in your lungs, or sometimes your throat. When you
breath you hear/feel a rasping sound. You must cough very hard to throw it out.

 

‘160. Toothache Using a low frequency beam they induce a toothache, this really is a horrible feeling lt is like
a true toothache but now when you move out of the beam it disappears

Why it is applied:Prevent you from doing anything, just plain torture.

 

161. Sore throat Your throat is slowly cooked and you will almost immediately notice less volume and after
some time pain while speaking.

How it is applied:They can do this in just one or two hours by aiming a high power beam at
your throat.

 

 

 

 

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Why it is applied:Prevent you from speaking loud, prevent you from singing.

 

162. B|ackout beam This is very high intensity burst on your head. There is no pain but it feels like the result
having been hit on the head very hard. You feel a bit dizzy and your ears are ringing.

 

 

163. UPPER BODY BEAMS
164. On top of shoulder A very painful beam on the top of your shoulder.

 

Why it is applied;Just torture.

 

165. Cook chest/lungs l call this beam: through-body-beam. You are really cooked by this beam, lf applied with
enough intensity you will feel a burning sensation on the back (where it enters), then feel the
beam cook your inside, then you start burping, then you feel a burning sensation on the other
part of your body where the beam leaves your body

How it is applied;This beam can be applied everywhere, form the house next to yours from
cars When they beam you outside the intensity often is higher as they want to make sure you
are hit properly

Feeling:You feel like being microwaved. Very painful, horrible torture.

 

166. Cooking They put the microwave beamer on your body for a long time and you have the feeling you
are cooked alive which in effect is a very accurate description of what is being done.

Feeling;You feel like being cooked alive, horrible torture.

 

167. Burp beam This is a low power sophisticated version of the chest/lungs cook beam. lt is difficult to locate
the source direction.

How it is applied:lt takes approx. 2-3 seconds to make you burp, make your body react to
events They also may apply low intensity so you get an irresistible urge to burp but cannot.

Feeling:Horrible torture.

Why it is applied:To make you suffer. This applied sometimes once every five minutes but
sometimes also several times a minute to let your body react to events like cars passing your
window, etc. Horrible torture.

 

§1”68. I;Ireartlat~tackwbeamfrom T his is a low frequency high power beam aimed at your heart, mostly from a position
behind somewhere in front of you. To maximize the effect they simultaneously beam you from the
left behind position with a microwave cook beam,

How it is applied:As they may apply the from behind beam for a long period your flesh
around the heart area may get cooked and the whole area may feel painful and stiff.

Feeling:This really gives you the feeling of having a heart problem, and in fact you have! The
difference is that this one is applied by murderers Horrible torture.

After effects:lt may take several days before you recover (if they stop the beam).

 

 

 

 

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Should you wor_ry:Yes, your heart is vital!

 

169. Heart attack high
power burst

 

This is a very high power burst of very short duration, 1 second or less, that will give you
immediately an extremely painful heart (area). This beam is really amazing: l believe it can
kill you in an instant.

How it is applied:They can do this through wall anytime.
Feeling:Horrible torture.
After effects:lt may take several days before your body recovers and it all feels normal again.

Should you worry:Yes, your heart is vital!

 

§170. Heart attack blobbing
feeling, heart pulsing
istrangely, randomly

This may be done separate from other heart attacks Your heart may start feel pulsing funny
the feeling is very massive, it also feels like bubbling, like the heart lost control of normal
operation and just pulses somewhat

How it is applied:Not only frightening but also very painful

 

171. Pressure beam

They put a pressure beam on your chest this will take your breath away and you may think
your are having a heart problem. This can have various intensities.

 

172. Back burning

They burn the skin of your back. This can be low intensity or high intensity The feeling is
you have a sun burn, in case of high intensities it will also color your back a little red.

How it is applied:This almost instant skin cooking Refer to ADS (Active Denial System) for
details

Why it is applied;Present pain. To move you out of the way, to make you leave the swimming
pool, etc.

 

173. Electric shower

This is an overwhelming effect. This is like a shower but not with water but with electronic
pulses

 

174. Heating

The temperature of your body is increased giving you the feeling you have a flu or some kind
of illness

 

175. Spleen beam

Beaming in your side gives you the idea you have spleen pain,
How it is applied:'l`hey often do this during high intensity sport activities

The idea is to make you believe you have real spleen pain and Will stop your exercise.

 

176. ARM BEAMS

 

177. Biceps

They cook your biceps to reduce their power , make them feel painful when you load them
during e.g. swimming This may be done to prevent you from doing your sports

 

178. Muscle weakening in
hand

 

They beam your hands The result is that you can not hold a pen between thumb and finger

 

like you used to, also you can not put you fingers against each other (like making a cup with

 

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your hand). They may do this to prevent you from working or doing your sports e.g.
swimming

 

179. LOWER BODY BEAMS
180. Stomach cooking They put a beam on your stomach and the stomach begins to bubble like something is
cooking inside.

 

How it is applied:'l'hey often do this at night.

Should you wor_ry:Yes, long term irradiation may cause stomach cancer, tumors

 

`181. Kidney damage With some kind of ultrasound beam they attack your kidneys. The feeling is like you have
been kicked over and over in your sides This is like the feeling that is described by patients
that have their kidney stones crushed by ultrasound.

 

;182. Intestines cooking, urge They cook your intestines and you feel you have to fart but cannot.
ito defecate
183. lntentionally omitted

 

 

184. Blind gut attack They cook the area around your tail bone. After a short period, depending on the intensity this
may take 60 seconds or more, you will feel horrible cramps

Feeling:This pain makes you crawl on the floor. Horrible torture.
After effects:lt takes at least one hour before the horrible cramps get a little less painful,

How to detect:With normal cramps you will have other parts of your body react as well, like
heavy sweating. ln this case there is just intense pain.

 

185. Diarrhea They cook your intestines and you have a very strong feeling to go to the toilet. By
continuously beaming, you have very heavy diarrhea.

Why it is applied:Keep you out of important events e.g. A lawsuit where you have to defend
yourself.

 

i186. Erection termination This beam makes your erection go away if you are a man of course. This can be done in 20-
30 seconds Depending on the direction of the beam your intestines may start bubbling
though not very loud,

 

'187. Urge to urinate They beam your lower body so you will feel the urge to urinate. lt is difficult to ignore and
there will come a moment you will have to do this when the beam continues

 

188. UPPER LEGS BEAMS
189. Block burst The feeling is that your movement is blocked. You must take care not to fall or make a
strange move.

 

 

190. KNEE BEAMS
191. Short beams This Will cause pain to your knee.

 

 

192. High intensity beaming They put the beam on your knee and make sure it stays there for hours The location may
vary to just above the knee cap. Can cause a lot of pain. This will result in very much pain

 

 

 

 

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and a very sensitive knee.

How it is applied:After a few days your knee hurts a lot when walking They may apply this
also when biking to make you think something is wrong with your knee.

Feeling:Very painful, horrible torture.

 

193. LOWER LEGS BEAMS
194. Calf cooking They apply low intensity low power beam to your legs e.g., when you are in bed. Your
muscles legs feel stiff the next moming. They may start cooking the calf after you finished
running, and after some time before you want to go running to prevent you from running

 

How it is applied;What happens when you increase load on cooked muscles? They tear apart.
Feeling:Very painful, horrible torture.

Why it is applied:Prevent you from running, other sports

 

195. Calf bursting This beam is in fact a very high power burst and can cook your calf from hundreds of meters

in a split second. lf you are running your cooked muscles will tear apart and you have instant
injury See also Heart attack high power burst. You may notice the following feeling: a needle
going in and out of your calf within a second.

Feeling;Very painful, horrible torture.

Why it is applied:Prevent you from running, or other sports

 

196. Shin cooking They cook the skin of your shin with very high intensities. When you are running, the shin
injury is a well-known. They may start cooking the skin of of your shin after you finished
running, and after some time (days) before you want to go running to prevent you from
running

Feeling: Very painful, horrible torture.

Why it is applied:Prevent you from running, other sports

 

197. Heel muscle The cook your heel muscle. This muscle does not contain much nerves so it is difficult to
detect before the damage has been done. Then you will think back and remember there was
something wrong the previous day or days

Feeling:Walking can be painful,

Why it is applied: Prevent you from running, other sports

 

198. Ankle They cook your ankles, just to cause you pain. You feel the beam and it is difficult to keep
your leg in the same position because of the pain, This is often a applied for a long period of
time, several hours

Feeling:Very painful.

 

 

 

 

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After effects:May take several days to disappear when applied with high intensities.

 

 

199. Foot They beam very hard in the center of your foot.
Feeling;Very painful, horrible torture.
200. Foot insane They burst the center of your foot with max power very short burst beam, only once while

walking even in a crowded place. This causes insane pain and you may fall immediately
because the foot is not functioning anymore.

Feeling:Extremely painful, horrible torture

 

 

 

201. Toes They pick a single toe and beam it for several days in a row.
`Feeling:Painful!
'202. Toes insane They burst your toes with with max power very short burst beam, and do this several times

This causes insane pain.

How it is applied:They may do this while riding your bike, horrible torture.

 

 

 

 

 

 

 

 

 

 

5203. Foot block Ultrasonic beam to block the movement of a foot. lf you are not prepared for this block you

l may fall.

=204. BODY BEAMS

205. Shaking Your whole body starts shaking like being in a aircraft in bad weather The frequency is
around 5 Hz. The intensity may amaze you.

206. Scratching They apply a scratch beam to any part of your body This beam is very hard to resist. Before
you know it you may start scratching yourself like crazy.
Feeling:Horrible torture.

207. LEG BEAMS

208. 'Iremble apart Some high power acoustic beamer is aimed at your leg and after some time your leg feels
non-cooperative, not part of your body anymore.

209. MOOD BEAMS

210. Sleepy feeling They beam you with a frequency that makes you really feel sleepy You will start yawning
and cannot keep your eyes open. This effects tarts very suddenly and often ends very abrupt.
Hoyg it is applied:They may also do this by devices built into your car.

§211. Nausea Not a very pleasant feeling

212. See the world turning You feel dizzy and see the world turning like when you are very very tired. This effect is not

really very real. The moment you are out-of~the-beam you are not turning anymore.

 

 

213.

Fatigue Attacks

 

[ Left blank by author ]

 

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214. Force awake With this well-known beam they will keep you awake, prevent you from sleeping This way
they wear you out, may be the next day you have an important meeting or must finish
important work.

 

215. Sweating, nauseous, You start sweating suddenly you feel dizzy you think you may have to vomit. When applied
vomit feeling with enough intensity you will start to vomit, you will need at least 30 minutes to recover a
little bit from this attack, but it will take hours before your body is acting a bit like before the
attack.

How it is applied:They may do this when you are With a friend. Google: navy vomit beam.

Feeling:Horrible torture.

 

 

 

 

 

 

216. SLEEP BEAMS
217. Induce dreams You have strange dreams about things but the dreams are not like dreams you had before. The
dreams may refer to very recent events in your life, like a person you met, a movie you saw, it
is another form of reacting to events in your life,
How it is applied:Some people in your environment might tell you they have wild dreams
that night trying to get you talking about your experience.
ACTIONABLE CAUSES AND DAMAGES UNDER FTCA:
v Metzen v. U.S (failure to place hypertensive patient on cholesterol diet was basis for disability in death by
heart attack).
' Newmann v. US (vestibular damage from gantamycin), judgment of $1,674,495.00.
' Dugger v. US (delay in treatment resulted in amputation of leg of disabled veteran), judgment of
$369,000.00.
' Epling v. US (11 month delay in diagnosing Hodgkins disease reduces life expectancy from 87 to 78, award
of $201,000.00 received.
¢ King v. Dept of Army (failure to note perforation of duodenum prior to closure of cholestectomy resulted in

death), $350,000.00 judgment for widower and three minor children.

' Kronbach v. US (failure to conduct MRl of cerebellum permitted tumor to grow out of dura.

¢ Logan v. US (failure to treat intractable keratosis in a timely manner).

° MacDonald v. US (failure to diagnose and treat high cholesterol caused heart attack).

° Whittle v. US (death due to synergistic effect of two psychotropic drugs).

¢ Kate Watterson v. Aro (targeted individual in Califomia who was being assaulted with microwave weapons
by her neighbor).

' Elliott v. US., 13 F. 3d 1555 (11‘h Cir. 1994), ($14 million).

° Reilly v. US., 655 F. Supp. 976 (D.R.I. 1987), ($11 million).

~ Hull by Hull v. US., 971 F. 2d 1499 (10th Cir. 1992), ($8.1 million).

' Ezekiel v. Michel, 66 F. 3d 894 (7'h Cir. 1995), (resident at VA hospital, which did not pay him, held to be
federal employee).

0 Harrison v. US., 708 F. 2d 1023 (5‘h Cir. 1983), (claim filed 10 years after medical malpractice was not barred

by statute of limitations because the Air Force had actively concealed information and failed to provide the plaintiff
with her medical records despite repeated requests).

¢ Otto v. NIH, 815 F. 2d 985 (4‘h Cir. 1987), (injury occurred after all treatment options offered fail -
continuous care/treatment doctrine did not apply to succeeding Govemment physicians).
° 28 U.S.C. 2675(b) (1994); See also Spivey v. US., 912 F. 2d 80 (4th Cir. 1990), (Plaintiff’s tardive dyskensia

could not have been discovered before filing, therefore, upward adjustment permitted).

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° Suarez v. US., 22 F. 3d 1064 (11th Cir. 1994), (‘unliquidated” in damages block of SF95 does not satisfy sum
certain requirement).

¢ Wehrman v. US., 830 F. 2d 1480 (8ch Cir. 1987), (VA physicians failed to advise of surgical option over 22
year period. Plaintiff not barred by the two year limitation period set forth in 28 U.S.C. 2401(b).

* Orlikow v. US., 682 F. Supp. 77 (D.D.C. 1988), suit filed under FTCA 28 U.S.C. 2671 for injuries they
sustained from an alleged experimentation/research project funder by the ClA.

° Related case not an FTCA case, but noteworthy: James R. Walbert v. Wichita Police Department. James

Walbert filed suit against the Wichita Police Departrnent alleging violations of rights under 42 U.S.C. 1985(3), 1986

and the 15‘, 4"‘, 5“‘, 6"‘, 8th and 14th Amendment. Walbert also asserts state law claims of negligence, breach of contract,

assault, battery and intentional infliction of emotional distress

° Related case not an FTCA case, but noteworthy: Bob Boyce's Pathology Report and other supporting

documents show correlation to Primary Plaintiffs’ left arm which shows two raised bumps protruding out just like on

Mr. Boyce's. Photos taken from Mr. Boyce’s website.

° Hamdi et al, v. Rumsfeld, Secretary of Defense, et al., Habeas Corpus case which argues..."[a]s an American

citizen, ...Hamdi enjoys the full protections of the Constitution," and that Hamdi's detention in the United States
without charges access to an impartial tribunal, or assistance of counsel "violated and continue[s] to violate
the Fifth and Fourteenth Amendments to the United States Constitution." ld., at 107.

' White Coast Waste Project v. United States Department of Veteran Affairs, watchdog organization concerned
about the reckless behavior of animal researchers at McGuire VAMC

° http: //www. militarytimes com/articles/va- medical- -eperiments- do-gs wcw;

 

at- -mcguire- -medical- center/.
' Elliott v. U.S., 13 F. 3D 1555 (1994). Serviceman and his wife brought suit under FTCA for negligence and

loss of consortium. Awarded over $12 million in damages due to carbon monoxide poisoning, faulty pipes and water
heater in apartment of active duty sergeant

EXHIBITS:

l. 1151 ADMINISTRATIVE TORT CLAIM - VA FORM 21-526EZ (4 pages) denied by the United States
Departrnent of Veteran Affairs,

2. Departrnent of Veterans Affairs Notice of Privacy Rights of 2009, of interest are sections on Research and
obtaining copies of medical records which are highlighted (4 pages), which violate patient privacy rights

3. Copy of Department of Veterans Affairs Patient Rights of 2011, of interest are section B(l) Treatment, 13 (a-f)
lnforrned Consent, Policies Related to Patient Rights (4 pages), which violate patient privacy rights and shows VA
disregard for patient privacy

4. Copy of Letter to Departrnent of Veterans Affairs, DOD, DOJ, White House, St. Davids Medical Center (5 pages).

5a Acknowledgment Letter from Department of Veterans Affairs in Little Rock, AR(l page); and 5b)Copy of email
from Debby Meece (1 page); and 5c) Denial letter from Medical Center Director at VAMC in Little Rock, AR.

6. Copy of acknowledgement of Administrative Tort Claim filed in 2012 (1 page). A subsequent Tort Claim was filed
for $8 million on or about 2015, but no response was received by the Department of Veterans Affairs

7. Copy of Denial letter by Regional Counsel , Jeffrey D. Stacey for Tort Claim filed in 2012(2 pages).

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8a. Copy of Memo from Deputy Secretary of Defense, subject: Release from “Secrecy Oaths” Under Chemical and
Biological Weapons Human Subject Research Programs (2 pages); and 8b) 2011 Presidential Commission of the
Study of Bioethical Issues; and 8c) Secty of Defense Discharge Upgrade Letter (2 pages); and denial of Primary
Plaintiffs’ upgrade request in 2017.

9. Copy of Memo from Deputy Secretary of Defense, subject: Chemical Weapons Research Programs Using Human
Test Subjects (1993), (2 pages).

10. Article on Nuremberg Code (4 pages).

11a. Copy of Universal Human Rights Treaty (7 pages); and 11b) Wikipedia Article showing US and 47 other
countries which signed it (1 page).

12. HHS (Health Human Services) Federal Policy for the Protection of Human Subjects (2 pages).

13. WHO (World Health Organization) Article on the Effects of RF Exposure to Humans particularly Glioma, a form
of brain cancer (2011), (6 pages).

14. IEEE Standards Association PC95.1 Standard for Safety Levels with Respect to Human Exposure to Electric,
Magnetic and Electromagnetic Fields, 0 Hz to 300 GHz (1 page). OMl'l'l`ED. Please disregard.

15. Letter from Departrnent of Veterans Affairs denying FOlA request (2012), (1 page) and letter from the VA
regarding deletion of x-rays at the Dallas VAMC (1 page).

16. Copy of Letter from CANR to Sen. Wyden (2013), (2 pages).

17. Copy of first page of Sensitive Record Access Log which shows over 1600+ FOIA inquiries into my personal VA
Medical Records by someone in the Obama Administration and/or others without my consent in 2015, plus letter
from VA (2 pages).

18. Shortly after l published this information in #17 (Sensitive Record Access Log) on my former website,
www.stmarymagdalenhfa.org, the 114th Congress passed a bill to require all my FOIA requests to be routed to
Washington, DC to a secret committee to approve and/or evaluate them, Since then, l have not been able to obtain any
Access Logs or copies of my medical records The exact bill is unknown, but it is suspected that it was submitted by
Hon. Sheila Jackson-Lee (D-TX). A copy of current FOIA request in 2016 is provided. (1 page).

19. Copy of 2017 FOIA request (1 page).
MEDICAL EVIDENCE

20. Copy of lab results of pap smear from Dallas TX Veteran HCS (2012). lt is worth noting that l was implanted
with a microchip in my vagina during this pap exam. My VA records in Dallas (and possibly Arkansas) have since
been deleted. l’ve been asked by several VA employees if l have copies of those records because they are no longer in
the system they have been deleted. (1 page).

21. Copy of Lab Results from Denver VAMC and comment from Dr. Budgin regarding the chest x-ray to identify the
microchip in my chest Dr. Budgin showed me a copy if the x-ray that was very blurry and dark and appeared to be
altered (2 pages).

22. Copy of chest X-ray from Denver VAMC (2016) which was blurred on VA computer system shown to me by Dr.

Budgin and which appears to be an exact duplicate of the one taken at St. Davids (2015) in Austin, TX., Which is a
blatant attempt by the VA to conceal the microchip (2016) (1 page). Unable to copy at time of filing with Court.

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23a. Copy of chest X-ray from St. Davids Medical Center. The medical record was altered by flipping the x-ray to
show back view and not front view which clearly reveals the microchip located in the center of my chest; and 23b) An
itemized statement of emergency room visit five day before Christmas in 2015 (3 pages). The VA has a history of
altering and/or deleting my x-rays in the past

24. Copy of Microdiscectomy Surgery at VAMC, Little Rock, AR, Post-Operative Notes by Dr. Murthy and other
medical documents from the same facility ln his notes Dr. Murthy mentioned that there was a metal plate in my
back.

25. Pictures of Primary Plaintiffs’ body affected by RF beams which are displaying signs of undiagnosed symptoms
involving the skin, 4th Stage of RF Over-Exposure, and what appears to be burns on some areas and/or a pre-
cancerous lesion on upper left arm and right wrist Scars form on my skin and take longer to heal since exposure to
the bio-electronic attacks and post surgery My skin is raw and feels like 1St degree burns all over, sensitive to touch
by water. l have coughed up blood and had redness and/or blood from right eye and nose. The areas identified by the
marks on my skin are almost identical to the areas on the body identified in Exhibit 46c from head to toe.

MISC. EVIDENCE

26. Copy of Police Report against Dr. Nguyen, DDS, who implanted me with a microchip in my right tooth at the
request of state agents and/or the Department of Veterans Affairs (2015). No criminal action was taken by the Austin
PD on my behalf. I was systemically denied equal protection under the law due to the ongoing illegal experimentation
on me by the Departrnent of Veterans Affairs, (3 pages).

27. Medical Evidence of cancer caused by implanted microchip in Mr. Bob Boyce, accessed from his own website
http://bobboyce.org, (1 page). Added to show correlation of the raised bumps on Mr. Boyce's’ arm to the ones on my
left arm and the cancerous effect of the microchips inside the human body

28. Picture of official government vehicle parked outside my home in Austin, TX (2015)and the likes of which
followed me all the way from Austin, TX to Colorado Springs, CO. l noticed them on the l-25 and other interstates on
my way here to Colorado. They arrived here before l did and began to use the same systemic tactics of harassment,
and rewired my home to install surveillance equipment which the Supreme Court has ruled constitutes a Search and
Seizure under the 4th Amendment to the US Constitution and which violates the privacy of the individual targeted.
Bad Elk v. US; Henty v. US; Atwater v. City of Lago Vista; Arizona v. Hicks; Katz v. US; Rawlings v. Kenlucky.
One of the government vehicles seen on the highway was seen at the Departrnent of Veterans Affairs Clinic in
Colorado Springs, CO. (2 pages).

29a. Picture of white board comments at Austin VA Outpatient Clinic which appear to be signed by Dr. Davis, a VA
employee in the Womens’ Clinic, an example of premeditated form of harassment which has been stagged by the
Departrnent of Veterans Affairs against over the last twelve years during my medical treatment at various Veterans
Affairs medical facilities from Arkansas, Texas and now Colorado; and 29b) complaint against Mr. Bergdorff, my
former mental health provider who illegally recorded our session together at Austin VA-Outpatient Clinic.

30. Copy of one ‘known’ non-consensual experiment in which l was subjected to by the VA without my consent for a
drug called Nuedexta which is used for a new treatment of PBA (PseudoBulbarAffect) - which treats unpredictable
episodes of crying or laughing l was used by the VA and this pharmaceutical company as a human test subject
without my consent The first drug they advertised was Avanair. They are both manufactured by Avanir
Pharmaceuticals. At the time of their experiment, l was receiving treatment for anxiety attacks and episodes of
uncontrollable crying.. l was intentionally locked in an elevator with one of the representatives of the drug company
while the VA maintenance and other employees looked on to observe my reactions They released the elevator after
about five minutes. l was never informed of this experiment and believe that it is a violation of my rights under the
Nuremberg Code (3 pages).

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31. Copy of Austin PD Sexual Offender Registry notice (2014). On this occasion, l received a fictitious and
fraudulent notice in the mail from the Austin PD with the name of my deceased brother (John l~lenry) on it. This
occurred shortly after my conversation with Dr. Davis and shows the VA corroboration with outside agencies
unlawful dissemination of private conversations with my physician. This Was one of many stagged actions done as a
form of psychological harassment This was very cruel and disturbing to me since my brother died under unusual
circumstances

SCIENTIFIC EVIDENCE OF RF EXPERIMENTATION BY DEPAR'IMENT OF VETERANS AFFAIRS,
DOD, DOJ, AND/OR U.S. ARMED FORCES:

Since most of the articles are several pages long, only one page of each article is provided. Please request full report
by emailing Primary Plaintiff at wi om818 afe-mail.net.

PULSED MICROWAVE (PM) TECHNOLOGY, 5 Articles:

32. http://www.ravenl.negfrey.htm, Human Auditory System Response to Modulated Electromagnetic Energy, Allan

H. Frey, General Electric Advanced Electronics Center, Comell University, NY., (1 page) (PM2).

33. http://www.ravenl,net/v2s.htm, Effects of Low Power Microwaves on the Local Cerebral Blood Flow of

Conscious Rats. (1 page) (PM3).

34. http: //www. ravenl. net/v2s- kohn ht HYPERLINK "http: /ZWM. ravenl net/v2s-kohn. htm" l-IYPERLINK
' . :.//Www ravenl net/v2s-kohn. htm"m, Transmission of

Microwave- lnduced lntra- cranial Sound to the lnner Ear DOD/EPA small business initiative (SBIR) project to study

the unclassified use of voice- -to-skull technology for military use (1 page) (PM4)

35. http://www.ravenl.net/bioamp.htm, Electromagnetic lnteraction with Biological Systems. Proceedings of Joint

Symposium on interactions of Electromagnetic Waves with Biological Systems, 22nd General Assembly of the

lntemational Union of Radio Science, Aug 25-Sep 1987, Tel Aviv, lsrael. (200 page pdf, only 2 pages provided).

(PMB).

36. http://raven1.net/v2s/succes.htm, American Psychologist Article: 1973 V2K Demonstration co-sponsored by the

Department of Veterans Affairs under federal grant #FD00650. Don R. Justesen, Laboratories of Experimental

Neuropsychology, Veterans Administration Hospital, Kansas City, MO, 64128.Successful transmission of words via a

pulse-rate-modulated microwave transmitter of the Frey type (7 pages). (PM6). ***

ULTRASOUND (US) TECHNOLOGY, 3 Articles, 1 page each:

37. http://www.ravenl.net/commsolo.htm, Military Use of Mind Control Weapons Article by Judy Wall outlining

instances of unclassified, openly admitted to, electronic mind control operations by government agencies (US2).

38.http://www.raven1.net/armyparw.htm, Use of Synthetic Telepathy SBIR contract which clearly shows intent to use

ultrasound as an anti-personnel weapon, including one-man portability and with power to kill. (USB).

39. http://Www.ravenl.net/acouspot.htm, Use of Airbome Ultrasonics for Generating Audible Sound Beams. Page

originally from the MlT Media Lab’s acoustic engineer which describes a similar technique under commercial and

military development under the trade-name ‘Hypersonic Sound.’ Shows that sound can be used to target one person in

a crowd. (USS).

 

Tl-IROUGH WALL RADIATION (TWR), 3 Articles:

40. http://www.ravenl.net/nij p44.htm, Prototype version of the ‘radar flashlight,’ a more portable version of the
LADS system. (1 page) (TWR2).

41. http://www.raven1.net/millitec.htm, October 1995 article from Popular Mechanics highlighting Millivision
Passive Millimeter Wave Technology. (1 page) (TWR3).

42. http://www.raven1.net/ptscradr.htm, U.S. Patent 5,648,787 for a Penetrating Microwave Radar Ground Plane
Antenna. Text taken from Patriot Scientific Corporation’s website of their ground-penetrating radar which can
penetrate partially conductive walls (1 page) (TWR4). Several other US Patents for this technology exits today
THOUGHT READING, 2 Articles:

43. Copy of paperwork from Austin VA Outpatient Clinic Physical Therapy for a TENS unit. Physical Theripist Mr.
Ed Davis, drew a picture of where to place the electrodes on my back exactly where the metal plate was implanted.
Evidence that VA employees knew about the implantation, but could not disclose it for fear of losing their jobs (2
pages). Omitted.Please disregard

44. http://www.raven1.net/ratrobot.htm, lmplanted rats can control devices with their thoughts (1 page) (TR2).

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45. http://www.bibliotecapleyades.net, Article showing Dr. Ross and the LIDA machine at the Veterans Hospital
Research Unit in San Bemardino County (2 pages).

IMPLANTATION TECHNOLOGY (IMP), 3 Articles:

46a. lntra-cerebral Radio Stimulation and Recording in Patients, electronic mind and behavior control (1 page); and
46b) Article on satellite tracking using implant device, http://www.adsx.cgrn/news/; and 46c)lmages illustrating the
effects of Neuro-Electronic weapons on the human body and brain (compare to areas on body of Primary Plaintiffs’)
(3 pages).

47. Copy of first page S. 193, 105th Congress a bill to provide protections to individuals who are the subject of
research. lntroduced by the late Sen. John Glenn (1 page).

48a. Orlikow v. US., 682 F. Supp., 77 (D.D.C. 1988). FTCA Claim against the CIA for alleged experimentation; and
48b) Civil case for Terry’the Hulk’ Bollea v. Gawker Media ($75M awarded); and 48c) Civil case for Erin Andrews
v. Marriott lntl ($75M awarded) for the outrageous irresponsible and despicable conduct of the accused (1 page
each).

49. Proof of US Departrnent of Veteran Affairs Research Centers located across the country including in:

Ann Arbor, Ml; Boston, MA; Charleston, SC; Durham, NC; Hines, lL; Houston, TX; Indianapolis, lN;

lowa City, lA; Los Angeles CA; Minn, MN; Tampa, FL;

North Little Rock, AR (only minutes away from where Primary Plaintiffs’ surgery took place in 2005); Palo Alto,
CA; Philadelphia, PA;Portland, OR; Providence, RI; Salt Lake City, UT; , _ 1 1

Denver, CO (where Plaintiff now receives primary care); and West Haven, CT.

50. Copy of license verification of Dr. Kurukundi K. Murthy from Arkansas State Board.

51. Copy of National Vital Statistics Report of 2014 which shows the life expectancy of an African-American woman
to be between 80-90 yrs.

52. Letter from Texas Attomey General Child Support Enforcement Officer named only ‘Zapata.’ Zapata is the name
used at times as a form of intimidation. ln 2010 or so, a message was left on my vehicle windshield on a sticky note
Which threatened me to keep quiet or the same thing that happened to Zapata would happen to me. This was
essentially a death threat lt is evidenced in the CIA report that was released in 014, that this threat came from a
government source. Only the CIA knew about Zapata and what happened to him. 'l`he threat on the sticky note came
years before the report was released. There was at the time of this letter from the Texas Attomey General’s Officer
Child Support Enforcement Division, no employee by the name of Zapata.

53. Copy of letter from the Departrnent of Veterans Affairs in 2015 authorizing a service animal due to PTSD.

54. Medical record of office visit for service animal from Banfield Pet Hospital in 2016.

55. Copy of news article from KVUE in Austin, TX of live ANTHRAX spores which were ‘mistakenly’ sent to Austin
lab in May of 2015, According to the report, the lab was located on MoPac Expressway near Steck Avenue, just a few
miles from where my daughter and l lived. A copy of this report was taken to the VA clinic in Austin along with a
request for treatment At the time, l was exhibiting symptoms of ANTHRAX poisoning TheVA employee took the
paperwork to the back and it was not returned. Also, at this time my daughter received a letter from a college she had
been approved admission to which stated that she had to get a certain type of immunization before she could be
admitted. The immunization provides protection from ANTHRAX poisoning. The live spores came from the U.S.
Army’s Dugway Proving Ground in Utah. lt is the home of biological and chemical weapons testing according to the
news article.

56. Copy of daughter's shot record and letter from a university requiring the shot. The timing of the letter came as no
coincidence to me. I believe it was planned, the college was notified to make sure that my daughter was protected
from the ANTHRAX before it was discovered at the Texas lab.

57. 2011 letter from the Presidential Commission For the Study of Bioethical Issues Executive Director Valerie
Bonham regarding targeted individuals electromagnetic torture and MK-ULTRA, COINTELPRO, covert harassment,
organized stalking, radio frequency microwave harassment, psychotronic or psychotropic weaponry

58. ABC News report on the sonic attacks on 19 American Diplomats in Cuba, their symptoms and side-effects

59. https://wwwdisabledveteransorg/2014/08/06/illegal/. Article by Atty. Benjamin Krause of report by journalist
Angela Rae who exposed secret ‘Disruptive Behavior Committees at the VA. Some harmful outcomes of this ‘secret’
committees are: the veteran having an improper flag in their file, harassment by the VA police, restriction in access to
healthcare.

60. VA Form 21-4138, Statement in Support of Claim by Primary Plaintiff, sonic attack in ear in 2017.

61. VA Form 21-4138, Statement in Support of Claim by Plaintiffs’ daughter, beeping sound heard after she scanned
Primary Plaintiff’s body with a Fluke Networks lntelliten Probe. This device is used to detect wireless networks and

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cables by network technicians This device detected a wireless network, or something thereof inside Primary
Plaintiff’s body

Letters To/F rom House and Senate Representatives:

62. Copy of Privacy Release form to Congressman Bill Flores to invoke Congressional lnquiry, seeking relocation
under federal relocation program due to government harassment in February of 2016.

63. Copy of Privacy Release Forrn to Cong. Michael McCaul in February of 2016.

64. Copy of letter from Cong. McCaul referring Primary Plaintiff to Cong. Flores.

65. Copy of letter from Cong. McCaul responding to Primary Plaintiff’s request to block access to her medical
records after she received a copy of a access log of her medical records with over 1600 unlawful accesses.

66. Copy of letter from the VA which was sent to Cong. McCaul in response to blocking of access of Primary
Plaintiff’s medical records

67. Copy of letter from Cong. McCaul relaying response from the VA in regards to access to Primary Plaintiff’s
medical records

68. Copy of letter from Cong. McCaul regarding the “No Fly List.” l requested this information from Cong. McCaul,
because l wanted to know if l was on a terrorist watch list, or identified as an ‘enemy combatant’ of the United States
69. Copy of referral letter from Cong. Roger Williams to Cong. McCaul.

70. Copy of letter from Cong. Roger Vtrrlliams regarding a complaint against Dr. Davis a physician at the Austin VA
Outpatient Clinic. As you may recall, this is the doctor who had the inappropriate memo on her exam room wall. Dr.
Davis is also the only physician that Primary Plaintiff has talked to about her deceased brother and the one in which
Primary Plaintiff received a card in the mail shortly after her last visit with Dr. Davis of sexual offenders l her area.
This shows some type of coordination between law enforcement and the VA to harass Primary Plaintiff. (Ref. to
exhibits 29, 31).///

71. Photo of Caucasion female student at UCCS making obscene gesture at Plaintiff as she is sitting in her vehicle
waiting in drop-off/pick-up zone waiting to pick up her daughter. Example of some blatant attacks on Plaintiff due to
unmasking of her identity and that of her daughter.

73. Postings from former website www.stmarymagdalenehfa.org and Facebook account

74. Picture of sore on the right side of Plaintiff’s skull, Entry point into brain where VA physician implanted
microchip(s). This sore has healed on the outside, but other sores on the Plaintiff’s body have not due to continued RF
beams into her body in certain areas such as shoulder, back and ankles, Countermeasures to stop the RF beams only
results in stronger beams that enter her body more pain and greater internal damage.

75. Refer to paragraph 9(f). Evidence of cancellation of appointment clinics, shuffling to various providers providers
abruptly leaving VA system without rescheduling patients (16 pages).

76. Drawing by Ed. Davis, a physical therapy provider at Austin VAMC on placement of TENS unit electrodes

77. The pink taser. This taser was purchased in downtown Austin, TX approximately in the summer of 2013 or 2014.
Plaintiff did frequent the area while waiting to pick up her daughter from school. lt is a reminder to Plaintiff and
should be an example/evidence to the Court of just how powerful the RF technology that the VA put inside her body
(especially her brain) really is, and that it had to have been done in coordination with other federal agencies charge of
such weaponry Hours before l left home and headed to the downtown area to pass the time, I had a strong urge to
purchase a pink taser. After leaving a shop in the downtown area, two people, a black male and white female
approached Plaintiff and asked if she wanted to buy a pink taser.

77(b). The two of them looked very nervous as if they had been paid to do this transaction. l thought it was too good
to be true. l was just thinking about buying a pink taser. l pad them about $10 - 15 in cash and left to pick up my
daughter. But really what are the odds of this happening spontaneously? lt was in fact a set up. The RF technology
placed inside my brain by the VA physician allows manipulation of my thoughts even thoughts to buy a pink taser.
Why not blue, my favorite color? This was in fact an example of one form of experimentation using the implanted
devices that l’m sure are logged by the VA or other state actors for them. If they can do this they could also have
manipulated other thoughts by the Plaintiff (including taking a picture of her vagina), her dreams her interactions
with other people, and behaviors using certain RF frequencies What if they’ve been doing this for over 13 years?

PRAYER FOR RELIEF:

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WHEREFORE, the Plaintiff, Maxine Shepard, respectfully requests that this Court:

1. Determine that the Department of Veterans' Affairs actions and those of their employees were intentional, negligent
and reckless;

2. That the Departrnent of Veteran Affairs employees from three different states over the course of thirteen years did
intentionally conceal, manipulate and cause harm to Plaintiff;

3. The Departrnent of Veterans Affairs used the microchips that it unlawfully implanted in Plaintiffs’ body during
back surgery in 2005 with Dr. Murthy in Little Rock, AR, during a pap examination on or about 2011, and during
office visits with Dr. Budgin in Denver, CO, to cause her mental, physical and emotional distress;

4. Determine that the government engaged (with the assistance and complicity of the Department of Veterans Affairs)
in the negligent funding of an extra hazardous activity and negligent funding of malpractice. Melton v. United
States, supra.;

5. Determine the negligence and failure of supervision and control over CIA, FBI, Veterans Affairs and other federal
employees and liability for harm caused to Plaintiff because of their unsupervised actions CIA v. Sims, 471 U.S. 159,
105 S. Ct. 1881, 1884, 85 L. Ed. 2D 173 (1985).;

6. Determine that the United States and the Departrnent of Veterans Affairs are liable for the damages caused to
Primary Plaintiff, her daughter, Secondary Plaintiff and her service animal;

7. Grant Plaintiff an award of litigation costs reasonably incurred in this action, to the extent permitted by law;

8. Determine that the surgeon at the VA Memorial Hospital in Little Rock, AR, in 2005, acted with full knowledge as
an employee of the U.S. government and within the scope of his employment as Attending Physician, did in fact,
unlawfully and negligently implant microchips inside Primary Plaintiff’s body That Dr. Murthy was in fact an
Attending Physician and employee of the Department of Veterans Affairs at the time of the surgery in 2005 and that
Dr. Murthy acknowledged the presence of a ‘metal plate’ inside Plaintiff at time of surgery;

9. That he acted alone or in collusion with other federal agencies such as the DOD, DOJ, CIA and/or FBI as part of a
secret experiment of behavior modification and/or to ‘teach Plaintiff a lesson’ or for other purposes

10. That the nurses at the VA Medical Center in Dallas TX, acted with full knowledge as employees of the
government and within the scope of their employment did in fact, unlawfully and negligently implant a microchip
on the right side of Primary Plaintiff’s pelvic area or vagina. And that they acted alone or in collusion with other
federal agencies such as the DOD, DOJ, ClA and/or FBI to continue electronic and psychological harassment pf
Primary Plaintiff, which began in 2005 in Little Rock, AR.

11. That various employees of the VAMC in Denver, CO, have or continue to act in collusion with the FBI and/or
other federal agencies or state actors to continue to conceal the electronic and psychological harassment which began
in 2005 in Little Rock, Arkansas, and which continued in Dallas TX and the failure of the Department of Veterans
Affairs to shield and protect Plaintiff from such behavior of their employees CIA v. Sims, 471 U.S. 159, 105 S. Ct.
1881, 1884, 85 L. Ed. 2D 173 (1985);

12. Determine that because of the intentional cruel, negligent and reckless actions of various VA employees from
three different states (Arkansas, Texas, Colorado), acting within the scope of their employment and as a result of
surgical treatment, hospitalization, and/or examinations at Little Rock, AR VAMC, Dallas VAMC and Eastem
Colorado VAMC have caused Primary Plaintiff to be denied rights under: 1) the Nuremberg Code, state, federal and
international laws; 2) Violations of the lntemational Human Rights Treaty; 3) Deprivation of US Constitutional and
Civil Rights Under Color of Law mandated by 42 USC 1983 and 18 USC 1964; 4) Deprivation of Equal Protection
Under the Law mandated by 42 USC 1983 and 18 USC 1964; 5) Deprivation of Property Rights mandated by 42

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USC 1983 and 18 USC 1964; 6) Deprivation of US and lntemational lntellectual Property Rights mandated by 17
USC 101-810; 7) Deprivation of Right to Peace and Tranquility mandated by the Bill of Rights 42 USC 1983 and 18
USC 1964; 8) Deprivation of Right to Due Process mandated by 42 USC 1983 and 18 USC 1964, 5'h Amendment,
and 14lh Amendment; 9) Violations of 13’h Amendment; 10) Breach of Fiduciary Duty pursuant to 15 USC 77; 11)
Deprivation of Right to Administrative Remedy pursuant to 42 USC 1983 and 18 USC 1964; 12) Tampering, Deletion
and Obfuscation of Official Records; 13) Threat, Duress Coercion; and Life Endangerment; 14) Violations of the
Americans with Disabilities Act of 1988, 89 and 2008 Amended and mandated by 42 USC 126; 15) Terrorism and
bio-electrification of US Citizen; 16) lntentional lnfliction of Emotional Distress mandated by 18 USC 1964; 17)
Medical Malpractice pursuant to 42 USC 1983, 18 USC 1964 and 38 USC 1151 any and all other applicable laws and
regulations

13. Determine that because of their intentional cruel, negligent and reckless actions Plaintiffs have suffered
physically mentally and psychologically;

14. Determine that the Primary Plaintiff has suffered additional disabilities (or may suffer them in the future) and/or
aggravation of existing disabilities to include those claimed on page 8 of the VA Forrn 21-526EZ (attached): a)
Hearing Loss/Tinnitus; b) Heart Problems; c) Permanent Loss of Memory; d) Neurotic Disturbances; e) Sleep
Apnea/Sleeplessness; f) Loss of use of Thumbs; g) Hypeltension; h) Glioma or other brain disorders; i)
Hormonal/Menstrual Disturbances; j) Salivary Gland Cancer (benign lump removed in 2013 at Austin, TX VA
Clinic); k) Symptoms lnvolving Skin (photos provided of back, arms legs of Primary Plaintiff); l) Respiratory
symptoms; m) Undiagnosed/Multi-symptom lllnesses;

15. Wherefore, Primary Plaintiff prays that the human experimentation on her will cease; and that she will be allowed
appropriate testing (MRI, CT-SCAN, etc.) to determine location and removal of all microchip implants in her body at
Departrnent of Veterans Affairs expense;

16. and the Departmth of Veterans Affairs will change their policy of allowing non-consequential human
experimentation and implantation of patients at all VA facilities and hold employees accountable for rogue acts of
experimentation on veterans and require full informed consent for all experiments in writing;

17. Grant in accordance with the Federal Tort Claims Act 28 U.S.C.; 38 U.S.C 1151, that she is awarded the amount
of $20,000,000.00 million for herself, for General, Special and Future damages (reduced life expectancy future
illnesses or diseases reduced quality of life and/or sudden or unexpected death due to malfunction of one or more of
the microchips and that her family may be well provided for.

18. Wherefore, Plaintiff prays that this petition and that of her family members (her daughter and service animal) will
be granted;

19. And that the United States and the Departrnent of Veterans Affairs are liable for the actions presented herein, and
they will immediately pay all compensatory damages to the Plaintiffs;

20. Grant Plaintiffs' request to seal all records pertaining to this claim and any/all cases the federal government of the
United States has against her which it has not allowed her due process of law.

Dated this: 1 day of N\f\\\ . 2018, Colorado Springs, CO

Respectfully submitted,

    

P.O. Box 60731
Colorado Springs, CO 80960

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Ms. Anna A. Siaw-Sappore, Secondary Plaintiff
P.O. Box 60731
Colorado Springs, CO 80960

Notary Seal: State of Colorado,

County of j 201\| \/Q/

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The foregoing instrument was acknowledged before me this S/+ . day of /\/l &`>\\/4 . 2018

%W_ 67-07-/;021

Mtary’s official signature Commission Expiration

 

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